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                                                                                              Daniel Szalkiewicz <daniel@lawdss.com>



 Doe v. Sebrow
 1 message

 Daniel Szalkiewicz <daniel@lawdss.com>                                                                      Wed, Dec 21, 2022 at 8:30 PM
 To: Ira W Heller <iwhelleresq@gmail.com>
 Cc: Abraham Borenstein <avib@bmclawyers.net>

    Ira,

    I spoke with            after the appearance. He told me not to file any motion relating to the initial disclosures prior to
    Friday. If we have the complete form by then, we won't file a separate motion to strike. However, it needs to be complete,
    with all parts filled in as required by the rule. Specifically, rule 26(a)(1)(A) requires::

     a party must, without awaiting a discovery request, provide to the other parties:

    (i) the name and, if known, the address and telephone number of each individual likely to have discoverable information—
    along with the subjects of that information—that the disclosing party may use to support its claims or defenses, unless the
    use would be solely for impeachment;

    (ii) a copy—or a description by category and location—of all documents, electronically stored information, and tangible
    things that the disclosing party has in its possession, custody, or control and may use to support its claims or defenses,
    unless the use would be solely for impeachment;

    (iii) a computation of each category of damages claimed by the disclosing party—who must also make available for
    inspection and copying as under Rule 34 the documents or other evidentiary material, unless privileged or protected from
    disclosure, on which each computation is based, including materials bearing on the nature and extent of injuries suffered;
    and

    (iv) for inspection and copying as under Rule 34, any insurance agreement under which an insurance business may be
    liable to satisfy all or part of a possible judgment in the action or to indemnify or reimburse for payments made to satisfy
    the judgment.


    Separately, Ms. Sebrow's interrogatory responses and discovery responses were due today. Please provide them by the
    end of the week as well.

    Finally, I am attaching a copy of the court order from today.

    Thank you.

    Very Truly Yours,

    Daniel S. Szalkiewicz, Esq.

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           23. December 12, 2022 Court Order.pdf
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